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                                No. 23-2964


         IN THE UNITED STATES COURT OF APPEALS
                FOR THE SEVENTH CIRCUIT


                     JOSE AGEO LUNA VANEGAS,
          on behalf of himself and all others similarly situated,

                                             Plaintiff-Appellee,

                                       v.

                        SIGNET BUILDERS, INC.,

                                             Defendant-Appellant.


                On Appeal from the United States District Court
                     for the Western District of Wisconsin


             NOTICE OF WITHDRAWAL OF COUNSEL


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        Case: 23-2964     Document: 45        Filed: 06/11/2024    Pages: 3


                  NOTICE OF WITHDRAWAL OF COUNSEL

      PLEASE TAKE NOTICE that Lorraine Gaynor of Iowa Legal Aid hereby

moves this Court for leave to withdraw as counsel for Appellees Jose Ageo Luna

Vanegas and Jose Luis Garcia Gonzalez. In support of this request, the

undersigned states she is leaving Iowa Legal Aid, and that Legal Action of

Wisconsin, the Institute for Constitutional Advocacy and Protection, and attorney

Edward J. Tuddenham will remain as counsel for Appellees.



      Respectfully submitted this 11 day of June, 2024.



                                      Respectfully submitted,

                                      /s/Lorraine Gaynor
                                      Lorraine Gaynor
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                          CERTIFICATE OF SERVICE

      I hereby certify that on June 11, 2024, a true and correct copy of the foregoing
Notice of Withdrawal of Counsel was filed with the Clerk of the Court, via the
CM/ECF system, and was served on the following via email:

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